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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



TIERRA VERDE ESCAPE, LLC,
TOW DEVELOPMENT, LLC, and
AMI INVESTMENT HOLDINGS, LLC,

                Plaintiffs,
                                                                Case No. 1:16-CV-100
v.
                                                                HON. GORDON J. QUIST
THE BRITTINGHAM GROUP, LLC,
CHARLES T. NOCK, JOHN C. NOCK,
and BRIAN D. BRITTSAN,

                Defendants.
                                         /


                                ORDER FOR STATUS REPORT

        On September 27, 2017, the Court entered an granting Plaintiff’s motion for a two-week

extension of time to initiate arbitration. (ECF No. 109.) A year has since passed and the Court has

heard nothing from the parties. Therefore,

        IT IS HEREBY ORDERED that within fourteen (14) days of the date of this Order, the

parties shall file a joint status report apprising the Court of the status of the arbitration proceeding.



Dated: October 22, 2018                                       /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                        UNITED STATES DISTRICT JUDGE
